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                  EXHIBIT 3
                                               RP-2016-481294
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                                                                     10/25/2016    ER       $116.00




        PREPARED BY AND UPON
        RECORDA TION RETURN TO:

        Sills Curnmis & Gross, P.C.
        One Riverfront Plaza
        Newark, New Jersey 07102
        Attention: Robert R. Hempstead, Esq.



                                                  KORNBLUTH TEXAS, LLC, trustor
                                                                     (Borrower)

                                                                     to

                                                      RUSS TOA TES, as trustee
                                                                                   (Trustee)

                                                              for the benefit of

                                  RIAL TO MORTGAGE FINANCE, LLC, as beneficiary
                                                                       (Lender)

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CX)            DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS AND SECURITY
vI                                    AGREEMENT
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0....                                             Dated:           As of October 21, 2016
0::::
                                                  Location:        302. Bay Area Boulevard
                                                                   Webster, Texas

                                                  County:          Harris




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               THIS DEED OF TRUST, ASSIGNMENT OF LEASES AND RENTS AND
        SECURITY AGREEMENT (this "Security Instrument") is made as of the 21 st day of
        October, 2016 by KORNBLUTH TEXAS, LLC, a Texas limited liability company, having an
        address at 302 W. Bay Area Boulevard, Webster, Texas 77598, as trustor ("Borrower") to
        RUSS TOA TES, having an address at 550 I LBJ Freeway, Suite 220, Dallas, TX 75240, as
        trustee ("Trustee") for the benefit of RIAL TO MORTGAGE FINANCE, LLC, a Delaware
        limited liability company, having an address at 600 Madison Avenue, 12th Floor, New York,
        New York I 0022, as beneficiary ("Lender").

                                                       RECITALS:

                  This Security Instrument is given to secure a loan (the "Loan") in the principal sum of
        EIGHT MILLION THREE HUNDRED FIFTY THOUSAND AND 00/100 DOLLARS
        ($8,350,000.00) made pursuant to that certain Loan Agreement, dated as of the date hereof,
        between Borrower and Lender (as the same may be amended, restated, replaced, supplemented
        or otherwise modified from time to time, the "Loan Agreement") and evidenced by that certain
        Promissory Note, dated the date hereof, made by Borrower in favor of Lender (such Promissory
        Note, together with all extensions, renewals, replacements, restatements, amendments,
        supplements, severances or modifications thereof being hereinafter referred to as the "Note").

               Borrower desires to secure the payment of the Debt (as defined in the Loan Agreement)
        and the performance of all of its obligations under the Note, the Loan Agreement and the other
v       Loan Documents (as herein defined). All capitalized terms not otherwise defined herein shall
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        have the meaning ascribed to them in the Loan Agreement.
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CX)
vI                                           ARTICLE I - GRANTS OF SECURITY
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~               Section 1.1      PROPERTY MORTGAGED.                         Borrower does hereby irrevocably
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             b b  ' grant , bargain , sell , pledge , assign , warrant , transfer and convey to and grant a security
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0....   interest to Lender and Trustee and their respective successors and assigns in, the following
0::::   property, rights, interests and estates now owned, or hereafter acquired by Borrower
        (collectively, the "Property"):

                        (a)    Land. The real property described in Exhibit A attached hereto and made
        a part hereof (the "Land");

                       (b)    Additional Land. All additional lands, estates and development rights
        hereafter acquired by Borrower for use in connection with the Land and the development of the
        Land and all additional lands and estates therein which may, from time to time, by supplemental
        mortgage or otherwise be expressly made subject to the lien of this Security Instrument;

                        (c)    Improvements.        The buildings, structures, fixtures, additions,
        enlargements, extensions, modifications, repairs, replacements and improvements now or
        hereafter erected or located on the Land (the "Improvements");

                        (d)     Easements. All easements, rights-of-way or use, rights, strips and gores of
        land, streets. ways, alleys, passages, sewer rights, water, water courses, water rights and pov,1ers,
        air rights and development rights, and all estates, rights, titles, interests, privileges, liberties,


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        servitudes, tenements, hereditaments and appurtenances of any nature whatsoever, in any way
        now or hereafter belonging, relating or pertaining to the Land and the Improvements and the
        reversion and reversions, remainder and remainders, and all land lying in the bed of any street,
        road or avenue, opened or proposed, in front of or adjoining the Land, to the center line thereof
        and all the estates, rights, titles, interests, dower and rights of dower, curtesy and rights of
        curtesy, property, possession, claim and demand whatsoever, both at law and in equity, of
        Borrower of, in and to the Land and the Improvements and every part and parcel thereof, with
        the appurtenances thereto;

                        (e)    Fixtures and Personal Property. All machinery, equipment, fixtures
        (including, but not limited to, all heating, air conditioning, plumbing, lighting, communications
        and elevator fixtures, inventory and goods), inventory and articles of personal property and
        accessions thereof and renewals, replacements thereof and substitutions therefor (including, but
        not limited to, beds, bureaus, chiffonniers, chests, chairs, desks, lamps, mirrors, bookcases,
        tables, rugs, carpeting, drapes, draperies, curtains, shades, venetian blinds, screens, paintings,
        hangings, pictures, divans, couches, luggage carts, luggage racks, stools, sofas, chinaware,
        linens, pillows, blankets, glassware, silverware, foodcarts, cookware, dry cleaning facilities,
        dining room wagons, keys or other entry systems, bars, bar fixtures, liquor and other drink
        dispensers, icemakers, radios, television sets, intercom and paging equipment, electric and
        electronic equipment, dictating equipment, private telephone systems, medical equipment, potted
        plants, heating, lighting and plumbing fixtures, fire prevention and extinguishing apparatus,
        cooling and air-conditioning systems, elevators, escalators, fittings, plants, apparatus, stoves,
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        ranges, refrigerators, laundry machines, tools, machinery, engines, dynamos, motors, boilers,
N       incinerators, switchboards, conduits, compressors, vacuum cleaning systems, floor cleaning,
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        waxing and polishing equipment, call systems, brackets, electrical signs, bulbs, bells, ash and
vI      fuel, conveyors, cabinets, lockers, shelving, spotlighting equipment, dishwashers, garbage
(0      disposals, washers and dryers), other customary hotel equipment and other tangible and all other
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0       property of every kind and nature whatsoever owned by Borrower, or in which Borrower has or
N       shall have an interest, now or hereafter located upon the Land and the Improvements, or
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0....   appurtenant thereto, and usable in connection with the present or future operation and occupancy
0::::   of the Land and the Improvements and all building equipment. materials and supplies of any
        nature whatsoever owned by Borrower, or in which Borrower has or shall have an interest, now
        or hereafter located upon the Land and the Improvements, or appurtenant thereto, or usable in
        connection with the present or future operation and occupancy of the Land and the
        Improvements (collectively, the "Personal Property"), and the right, title and interest of
        Borrower in and to any of the Personal Property which may be subject to any security interests,
        as defined in the Uniform Commercial Code, as adopted and enacted by the State or States where
        any of the Property is located (the "Uniform Commercial Code"), superior in lien to the lien of
        this Security Instrument and all proceeds and products of the above;

                         (f)   Leases and Rents. All leases, subleases, rental agreements, registration
        cards and agreements, if any, and other agreements, whether or not in writing, affecting the use,
        enjoyment or occupancy of the Land and/or the Improvements heretofore or hereafter entered
        into and all extensions, amendments and modifications thereto, whether before or after the filing
        by or against Borrower of any petition for relief under the Bankruptcy Code (the "Leases") and
        all right, title and interest of Borrower, its successors and assigns therein and thereunder,
        including, without limitation, any guaranties of the lessees' obligations thereunder, cash or


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        securities deposited thereunder to secure the performance by the lessees of their obligations
        thereunder and all rents, additional rents, payments in connection with any termination,
        cancellation or surrender of any Lease, revenues, issues registration fees, if any and profits
        (including all oil and gas or other mineral royalties and bonuses) from the Land and/or the
        Improvements, all income, rents, room rates, issues, profits, revenues, deposits, accounts and
        other benefits from the operation of the hotel on the Land and/or the Improvements, including,
        without limitation, all revenues and credit card receipts collected from guest rooms, restaurants,
        bars, mini-bars, meeting rooms, banquet rooms and recreational facilities and otherwise, all
        receivables (including Accounts Receivable), customer obligations, installment payment
        obligations and other obligations now existing or hereafter arising or created out of sale, lease,
        sublease, license, concession or other grant of the right of the possession, use or occupancy of all
        or any portion of the Land and/or Improvements, or personalty located thereon, or rendering of
        services by Borrower or any operator or manager of the hotel or the commercial space located in
        the Improvements or acquired from others including, without limitation, from the rental of any
        office space, retail space, commercial space, guest room or other space, halls, stores or offices,
        including any deposits securing reservations of such space, exhibit or sales space of every kind,
        license, lease, sublease and concession fees and rentals, health club membership fees, food and
        beverage wholesale and retail sales, service charges, vending machine sales and proceeds, if any,
        from business interruption or other loss of income insurance relating to the use, enjoyment or
        occupancy of the Land and/or the Improvements whether paid or accruing before or after the
        filing by or against Borrower of any petition for relief under the Bankruptcy Code and all
        proceeds from the sale or other disposition of the Leases (the "Rents") and the right to receive
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        and apply the Rents to the payment of the Debt;
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                        (g)     Condemnation Awards. All awards or payments, including interest
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vI      thereon, which may heretofore and hereafter be made with respect to the Property, whether from
(0      the exercise of the right of eminent domain (including but not limited to any transfer made in lieu
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0       of or in anticipation of the exercise of the right), or for a change of grade, or for any other injury
N       to or decrease in the value of the Property;
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0....
0::::                   (h)   Insurance Proceeds. All proceeds of and any unearned premiums on any
        insurance policies covering the Property, including, without limitation, the right to receive and
        apply the proceeds of any insurance, judgments, or settlements made in lieu thereof, for damage
        to the Property;

                        (i)     Tax Certiorari. All refunds, rebates or credits in connection with a
        reduction in real estate taxes and assessments charged against the Property as a result of tax
        certiorari or any applications or proceedings for reduction;

                       (j)     Conversion. All proceeds of the conversion, voluntary or involuntary, of
        any of the foregoing including, without limitation, proceeds of insurance and condemnation
        awards, into cash or liquidation claims;

                       (k)     Rights. The right, in the name and on behalf of Borrower, to appear in and
        defend any action or proceeding brought with respect to the Property and to commence any
        action or proceeding to protect the interest of Lender in the Property;




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                           (I)  Agreements.      All agreements, contracts, certificates, instruments,
        franchises, permits, licenses, plans, specifications and other documents, now or hereafter entered
        into, and all rights therein and thereto, respecting or pertaining to the use, occupation,
        construction, management or operation of the Land and any part thereof and any Improvements
        or respecting any business or activity conducted on the Land and any part thereof and all right,
        title and interest of Borrower therein and thereunder, including, without limitation, the right,
        upon the happening of any default hereunder, to receive and collect any sums payable to
        Borrower thereunder;

                      (m)     Intangibles. All trade names, trademarks, servicemarks, logos, copyrights,
        goodwill, books and records, tenant or guest lists, advertising materials, telephone exchange
        numbers identified in such materials and all other general intangibles relating to or used in
        connection with the operation of the Property;

                        (n)    Accounts. All accounts, account collateral, reserves, escrows and deposit
        accounts maintained by Borrower with respect to the Property including, without limitation, the
        Clearing Account and the Cash Management Account, and all complete securities, investments,
        property and financial assets held therein from time to time and all proceeds, products,
        distributions or dividends or substitutions thereon and thereof;

                         (o)    Causes of Action. All causes of action and claims (including, without
        limitation, all causes of action or claims arising in tort, by contract, by fraud or by concealment
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        of material fact) against any Person for damages or injury to the Property or in connection with
N       any transactions financed in whole or in part by the proceeds of the Loan ("Cause of Action");
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        and
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(0                      (p)     Accounts Receivables. All right, title and interest of Borrower arising
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        from the operation of the Land and the Improvements in and to all payments for goods or
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N       property sold or leased or for services rendered, whether or not yet earned by performance, and
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0....   not evidenced by an instrument or chattel paper, (hereinafter referred to as "Accounts
0::::   Receivable") including, without limiting the generality of the foregoing, (i) all accounts, contract
        rights, book debts, and notes arising from the operation of a hotel on the Land and the
        Improvements or arising from the sale, lease or exchange of goods or other property and/or the
        performance of services, (ii) Borrower's rights to payment from any consumer credit/charge card
        organization or entities which sponsor and administer such cards as the American Express Card,
        the Visa Card and the Mastercard, (iii) Borrower's rights in, to and under all purchase orders for
        goods, services or other property, (iv) Borrower's rights to any goods, services or other property
        represented by any of the foregoing, (v) monies due to or to become due to Borrower under all
        contracts for the sale, lease or exchange of goods or other property and/or the performance of
        services including the right to payment of any interest or finance charges in respect thereto
        (whether or not yet earned by performance on the part of Borrower) and (vi) all collateral
        security and guaranties of any kind given by any person or entity with respect to any of the
        foregoing.    Accounts Receivable shall include those now existing or hereafter created,
        substitutions therefor, proceeds (whether cash or non-cash, movable or immovable, tangible or
        intangible) received upon the sale, exchange, transfer, collection or other disposition or
        substitution thereof and any and all of the foregoing and proceeds therefrom; and




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                       (q)     Other Rights. Any and all other rights of Borrower in and to the items set
        forth in Subsections (a) through (p) above.

                Section 1.2    ASSIGNMENT OF LEASES AND RENTS. Borrower hereby absolutely
        and unconditionally assigns to Lender and Trustee Borrower's right, title and interest in and to
        all current and future Leases and Rents; it being intended by Borrower that this assignment
        constitutes a present, absolute assignment and not an assignment for additional security only.
        Nevertheless, subject to the terms of this Section 1.2, the Loan Agreement and the Cash
        Management Agreement, Lender grants to Borrower a revocable license to collect and receive
        the Rents. Borrower shall hold the Rents, or a portion thereof sufficient to discharge all current
        sums due on the Debt, for use in the payment of such sums.

                Section 1.3    SECURITY AGREEMENT. This Security Instrument is both a real
        property mortgage and a "security agreement" within the meaning of the Uniform Commercial
        Code. The Property includes both real and personal property and all other rights and interests,
        whether tangible or intangible in nature, of Borrower in the Property. By executing and
        delivering this Security Instrument, Borrower hereby grants to Lender and Trustee, as security
        for the Obligations, (as herein defined) a security interest in the Property to the full extent that
        the Property may be subject to the Uniform Commercial Code.

                Section 1.4    FIXTURE FILING. Certain of the Property is or will become "fixtures"
        (as that term is defined in the Uniform Commercial Code) on the Land, described or referred to
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        in this Security Instrument, and this Security Instrument, upon being filed for record in the real
N       estate records of the city or county wherein such fixtures are situated, shall operate also as a
~       financing statement filed as a fixture filing in accordance with the applicable provisions of said
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vI      Uniform Commercial Code upon such of the Property that is or may become fixtures.
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               Section 1.5    PLEDGE OF MONIES HELD. Borrower hereby pledges to Lender any
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N       and all monies now or hereafter held by Lender, including, without limitation, any Reserve
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0....   Funds, the Clearing Account, the Cash Management Account, the Net Proceeds and the Net
0::::   Proceeds Deficiency, as additional security for the Obligations until expended or applied as
        provided in the Loan Agreement or this Security Instrument.

                                                 CONDITIONS TO GRANT

               TO HA VE AND TO HOLD the above granted and described Property unto and to the
        use and benefit of Lender and Trustee, and for their its successors and assigns, forever;

               IN TRUST, WITH POWER OF SALE, to secure payment to Lender of the Debt at the
        time and in the manner provided for its payment in the Note, the Loan Agreement, and in this
        Security Instrument.

               PROVIDED, HOWEVER, these presents are upon the express condition that, if
        Borrower shall well and truly pay to Lender the Debt at the time and in the manner provided in
        the Note and this Security Instrument, shall well and truly perform the Other Obligations (as
        herein defined) as set forth in this Security Instrument and shall well and truly abide by and
        comply with each and every covenant and condition set forth herein, in the Note and in the Loan
        Agreement, these presents and the estate hereby granted shall cease, terminate and be void.


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                                  ARTICLE 2 - DEBT AND OBLIGATIONS SECURED

               Section 2.1     DEBT. This Security Instrument and the grants, assignments and transfers
        made in Article I are given for the purpose of securing the Debt.

               Section 2.2   OTHER OBLIGATIONS. This Security Instrument and the grants,
        assignments and transfers made in Article I are also given for the purpose of securing the
        following (the "Other Obligations"):

                            (a)        the performance of all other obligations of Borrower contained herein;

                      (b)    the performance of each obligation of Bon-ower contained in the Loan
        Agreement or any other Loan Documents; and

                        (c)     the performance of each obligation of Borrower contained in any renewal,
        extension, amendment, modification, consolidation, change of, or substitution or replacement
        for, all or any part of the Note, the Loan Agreement, this Security Instrument or the other Loan
        Documents.

                Section 2.3    DEBT AND OTHER OBLIGATIONS. Borrower's obligations for the
        payment of the Debt and the performance of the Other Obligations shall be referred to
        collectively below as the "Obligations."

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0)                                        ARTICLE 3 - BORROWER COVENANTS
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CX)               Borrower covenants and agrees that:
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(0            Section 3.1    PAYMENT OF DEBT. Borrower will pay the Debt at the time and in the
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0       manner provided in the Note, the Loan Agreement and in this Security Instrument.
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0....          Section 3.2      INCORPORATION BY REFERENCE. All the covenants, conditions and
0::::   agreements contained in the Loan Agreement, the Note and all and any of the other Loan
        Documents, are hereby made a part of this Security Instrument to the same extent and with the
        same force as if fully set forth herein.

                Section 3.3     PAYMENT FOR LABOR AND MATERIALS. Borrower will promptly
        pay when due all bills and costs for labor, materials, and specifically fabricated materials ("Labor
        and Material Costs") incurred in connection with the Property and never permit to exist beyond
        the due date thereof in respect of the Property or any part thereof any lien or security interest,
        even though inferior to the liens and the security interests hereof, and in any event never permit
        to be created or exist in respect of the Prope1iy or any part thereof any other or additional lien or
        security interest other than the liens or security interests hereof except for the Permitted
        Encumbrances and liens being contested in accordance with this Section 3.3. After prior written
        notice to Lender, Borrower, at its own expense, may contest by appropriate legal proceeding,
        promptly initiated and conducted in good faith and with due diligence, the amount or validity or
        application in whole or in part of any of the Labor and Material Costs, provided that (i) no Event
        of Default has occurred and is continuing under the Loan Agreement, the Note, this Security
        Instrument or any of the other Loan Documents, (ii) Borrower is permitted to do so under the



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        provisions of any other mortgage, deed of trust or deed to secure debt affecting the Property, ( iii)
        such proceeding shall suspend the collection of the Labor and Material Costs from Borrower and
        from the Property or Borrower shall have paid all of the Labor and Material Costs under protest,
        (iv) such proceeding shall be permitted under and be conducted in accordance with the
        provisions of any other instrument to which Borrower is subject and shall not constitute a default
        thereunder, (v) neither the Property nor any part thereof or interest therein will be in material risk
        of being sold, forfeited, terminated, canceled or lost, and (vi) Borrower shall have furnished the
        cash or security as may be required in the proceeding, or as may be reasonably requested by
        Lender to insure the payment of any contested Labor and Material Costs, together with all
        interest and penalties thereon.

               Section 3.4    PERFORMANCE OF OTHER AGREEMENTS. Borrower shall observe
        and perform in all material respects each and every covenant to be observed or performed by
        Borrower pursuant to the terms of the Loan Agreement, any other Loan Documents and any
        agreement or recorded instrument affecting or pertaining to the Property, or given by Borrower
        to Lender for the purpose of further securing the Obligations and any amendments, modifications
        or changes thereto.

                                     ARTICLE 4 - OBLIGATIONS AND RELIANCES

                 Section 4.1    RELATIONSHIP OF BORROWER AND LENDER. The relationship
        between Borrower and Lender is solely that of debtor and creditor, and Lender has no fiduciary
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        or,. other special relationship with Borrower, and no term or condition of any of the Loan
N       Agreement, the Note, this Security Instrument and the other Loan Documents shall be construed
~       so as to deem the relationship between Borrower and Lender to be other than that of debtor and
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vI      creditor.
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                Section 4.2   NO RELIANCE ON LENDER.                  The general partners, officers,
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N       shareholders, members, principals and/or other beneficial owners of Borrower are experienced in
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0....   the ownership and operation of properties similar to the Property, and Borrower and Lender are
0::::   relying solely upon such expertise and business plan in connection with the ownership and
        operation of the Property. Borrower is not relying on Lender's expertise, business acumen or
        advice in connection with the Property.

                Section 4.3    NO LENDER OBLIGATIONS. (a) Notwithstanding the prov1s1ons of
        Subsections 1.1 (f) and (I) or Section 1.2, Lender is not undertaking the performance of (i) any
        obligations under the Leases; or (ii) any obligations with respect to such agreements, contracts,
        certificates, instruments, franchises, permits, trademarks, licenses and other documents.

                        (b)     By accepting or approving anything required to be observed, performed or
        fulfilled or to be given to Lender pursuant to this Security Instrument, the Loan Agreement, the
        Note or the other Loan Documents, including without limitation, any officer's certificate,
        balance sheet, statement of profit and loss or other financial statement, survey, appraisal, or
        insurance policy, Lender shall not be deemed to have warranted, consented to, or affirmed the
        sufficiency, the legality or effectiveness of same, and such acceptance or approval thereof shall
        not constitute any warranty or affirn1ation with respect thereto by Lender.




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                 Section 4.4    RELIANCE. Borrower recognizes and acknowledges that in accepting the
        Note, the Loan Agreement, this Security Instrument and the other Loan Documents, (i) Lender is
        expressly and primarily relying on the truth and accuracy of the warranties and representations
        set forth in Article 3 of the Loan Agreement without any obligation to investigate the Property
        and notwithstanding any investigation of the Property by Lender; (ii) that such reliance existed
        on the part of Lender prior to the date hereof; (iii) that the warranties and representations are a
        material inducement to Lender in accepting the Note, the Loan Agreement, this Security
        Instrument and the other Loan Documents; and that Lender would not be willing to make the
        Loan and accept this Security Instrument in the absence of the warranties and representations as
        set forth in Article 3 of the Loan Agreement.

                                            ARTICLE 5 - FURTHER ASSURANCES

                Section 5.1      RECORDING OF SECURITY INSTRUMENT, ETC.                           Borrov.rer
        forthwith upon the execution and delivery of this Security Instrument and thereafter, from time
        to time, will cause this Security Instrument and any of the other Loan Documents creating a lien
        or security interest or evidencing the lien hereof upon the Property and each instrument of further
        assurance to be filed, registered or recorded in such manner and in such places as may be
        required by any present or future law in order to publish notice of and fully to protect and perfect
        the lien or security interest hereof upon, and the interest of Lender in, the Property. Borrower
        will pay all taxes, filing, registration or recording fees, and all expenses incident to the
        preparation, execution, acknowledgment and/or recording of the Note, the Loan Agreement, this
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        Security Instrument, the other Loan Documents, and any instrument of further assurance, and
N       any modification or amendment of the foregoing documents, and all federal, state, county and
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CX)
        municipal taxes, duties, imposts, assessments and charges arising out of or in connection with the
vI      execution and delivery of this Security Instrument, the other Loan Documents, or any instrument
(0      of further assurance, and any modification or amendment of the foregoing documents, except
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0       where prohibited by law so to do.
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0....           Section 5.2     FURTHER ACTS, ETC. Borrower will, at the cost of Borrower, and
0::::   without expense to Lender, do, execute, acknowledge and deliver all and every such further acts,
        deeds, conveyances, deeds of trust, mortgages, assignments, notices of assignments, transfers
        and assurances as Lender shall, from time to time, reasonably require, for the better assuring,
        conveying, assigning, transferring, and confirming unto Lender and Trustee the Property and
        rights hereby deeded, mortgaged, granted, bargained, sold, conveyed, confirmed, pledged,
        assigned, warranted and transferred or intended now or hereafter so to be, or which Borrower
        may be or may hereafter become bound to convey or assign to Lender, or for carrying out the
        intention or facilitating the performance of the terms of this Security Instrument or for filing,
        registering or recording this Security Instrument, or for complying with all Legal Requirements,
        and Borrower hereby authorizes Lender to execute any of the foregoing in the name of Borrower
        or without the signature of Borrower to the extent that Lender may lawfully do so. Borrower
        hereby authorizes Lender to file in the appropriate filing or recording offices, with or without the
        signature of Borrower, one or more financing statements (including any amendment or
        continuation thereof), chattel mortgages or other instruments to establish, maintain, or evidence
        more effectively the validity, perfection or priority of the security interest of Lender in the
        Property. Borrower grants to Lender an irrevocable power of attorney coupled with an interest
        for the purpose of exercising and perfecting any and all rights and remedies available to Lender


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        at law and in equity, including without limitation such rights and remedies available to Lender
        pursuant to this Section 5.2.

                  Section 5.3           CHANGES IN TAX, DEBT CREDIT AND DOCUMENTARY STAMP
        LAWS.

                       (a)     If any law is enacted or adopted or amended after the date of this Security
        Instrument which deducts the Debt from the value of the Property for the purpose of taxation or
        which imposes a tax, either directly or indirectly, on the Debt or Lender's interest in the
        Property, Borrower will pay the tax, with interest and penalties thereon, if any. If Lender is
        advised by counsel chosen by it that the payment of tax by Borrower would be unlawful or
        taxable to Lender or unenforceable or provide the basis for a defense of usury, then Lender shall
        have the option, exercisable by written notice of not less than one-hundred ( 120) days to declare
        the Debt immediately due and payable, without prepayment penalty or premium.

                        (b)    Borrower will not claim or demand or be entitled to any credit or credits
        on account of the Debt for any part of the Taxes or Other Charges assessed against the Property,
        or any part thereof, and no deduction shall otherwise be made or claimed from the assessed value
        of the Property, or any part thereof, for real estate tax purposes by reason of this Security
        Instrument or the Debt. If such claim, credit or deduction shall be required by law, Lender shall
        have the option, exercisable by written notice of not less than one-hundred ( 120) days, to declare
        the Debt immediately due and payable, without prepayment penalty or premium.
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0)                       (c)  If at any time the United States of America, any State thereof or any
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~       subdivision of any such State shall require revenue or other stamps to be affixed to the Note, the
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vI      Loan Agreement, this Security Instrument, or any of the other Loan Documents or impose any
(0      other tax or charge on the same, Borrower will pay for the same, with interest and penalties
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        thereon, if any.
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0....           Section 5.4   REPLACEMENT DOCUMENTS. Upon receipt of an affidavit of an
0::::   officer of Lender as to the loss, theft, destruction or mutilation of the Note or any other Loan
        Document which is not of public record, and, in the case of any such mutilation, upon surrender
        and cancellation of such Note or other Loan Documents, Borrower will issue, in lieu thereof, a
        replacement Note or other Loan Documents, dated the date of such lost, stolen, destroyed or
        mutilated Note or other Loan Documents in the same principal amount thereof and otherwise of
        like tenor.

                Section 5.5    PERFORMANCE AT BORROWER'S EXPENSE.                                   Borrower
        acknowledges and confirms that Lender shall impose certain administrative processing and/or
        commitment fees in connection with (a) the extension, renewal, modification, amendment and
        termination of the Loan, (b) the release or substitution of collateral therefor, (c) obtaining certain
        consents, waivers and approvals with respect to the Property, or (d) the review of any Lease or
        proposed Lease or the preparation or review of any subordination, non-disturbance agreement
        (the occurrence of any of the above shall be called an "Event"). Borrower further acknowledges
        and confirms that it shall be responsible for the payment of all costs of reappraisal of the
        Property or any part thereof, whether required by law, regulation, Lender or any governmental or
        quasi-governmental authority. Borrower hereby acknowledges and agrees to pay, immediately,



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        with or without demand, all such fees (as the same may be increased or decreased from time to
        time), and any additional fees of a similar type or nature which may be imposed by Lender from
        time to time, upon the occurrence of any Event. Wherever it is provided for herein that
        Borrower pay any costs and expenses, such costs and expenses shall include, but not be limited
        to, all legal fees and disbursements of Lender, whether with respect to retained firms, the
        reimbursement for the expenses of in-house staff or otherwise.

                Section 5.6    LEGAL FEES FOR ENFORCEMENT. (a) Borrower shall pay all
        reasonable legal fees incurred by Lender in connection with the preparation of the Loan
        Agreement, the Note, this Security Instrument and the other Loan Documents and (b) Borrower
        shall pay to Lender on demand any and all expenses, including legal expenses and attorneys'
        fees, incurred or paid by Lender in protecting its interest in the Property or in collecting any
        amount payable hereunder or in enforcing its rights hereunder with respect to the Property
        (including commencing any foreclosure action), whether or not any legal proceeding is
        commenced hereunder or thereunder, together with interest thereon at the Default Rate from the
        date paid or incurred by Lender until such expenses are paid by Borrower.

                 Section 5.7     SPLITTING OF MORTGAGE. This Security Instrument and the Note
        shall, at any time until the same shall be fully paid and satisfied, at the sole election of Lender, be
        split or divided into two or more notes and two or more security instruments, each of which shall
        cover all or a portion of the Property to be more particularly described therein. To that end,
        Borrower, upon written request of Lender, shall execute, acknowledge and deliver, or cause to be
v       executed, acknowledged and delivered by the then owner of the Property, to Lender and/or its
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        designee or designees substitute notes and security instruments in such principal amounts,
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~       aggregating not more than the then unpaid principal amount of the Note, and containing terms,
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vI      provisions and clauses similar to those contained herein and in the Note, and such other
(0      documents and instruments as may be required by Lender.
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N                                    ARTICLE 6 - DUE ON SALE/ENCUMBRANCE
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0::::           Section 6.1    LENDER RELIANCE.            Borrower acknowledges that Lender has
        examined and relied on the experience of Borrower and its partners, members, principals and (if
        Borrower is a trust) beneficial owners in owning and operating properties such as the Property in
        agreeing to make the Loan, and will continue to rely on Borrower's ownership of the Property as
        a means of maintaining the value of the Property as security for repayment of the Debt and the
        performance of the Other Obligations. Borrower acknowledges that Lender has a valid interest
        in maintaining the value of the Property so as to ensure that, should Borrower default in the
        repayment of the Debt or the performance of the Other Obligations, Lender can recover the Debt
        by a sale of the Property.

               Section 6.2     NO SALE/ENCUMBRANCE. Neither Borrower nor any Restricted Party
        shall Transfer the Property or any part thereof or any interest therein or permit or suffer the
        Property or any part thereof or any interest therein to be Transferred other than as expressly
        permitted pursuant to the terms of the Loan Agreement.

                                                ARTICLE 7 - PREPAYMENT




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               Section 7.1    PREPAYMENT. The Debt may not be prepaid in whole or in part except
        in accordance with the express terms and conditions of the Loan Agreement.

                                           ARTICLE 8 ,. RIGHTS AND REMEDIES

                Section 8.1   REMEDIES. Upon the occurrence of any Event of Default, Borrower
        agrees that Lender may, or acting through Trustee may, take such action, without notice or
        demand, as it deems advisable to protect and enforce its rights against Borrower and in and to the
        Property, including, but not limited to, the following actions, each of which may be pursued
        concurrently or otherwise, at such time and in such order as Lender may determine, in its sole
        discretion, without impairing or otherwise affecting the other rights and remedies of Lender or
        Trustee:

                            (a)        declare the entire unpaid Debt to be immediately due and payable;

                        (b)    institute proceedings, judicial or otherwise, for the complete foreclosure of
        this Security Instrument under any applicable provision of law in which case the Property or any
        interest therein may be sold for cash or upon credit in one or more parcels or in several interests
        or portions and in any order or manner;

                       (c)     with or without entry, to the extent permitted and pursuant to the
        procedures provided by applicable law, institute proceedings for the partial foreclosure of this
        Security Instrument for the portion of the Debt then due and payable, subject to the continuing
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0)      lien and security interest of this Security Instrument for the balance of the Debt not then due,
N       unimpaired and without loss of priority;
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vI                     (d)    sell for cash or upon credit the Property or any part thereof and all estate,
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        claim, demand, right, title and interest of Borrower therein and rights of redemption thereof,
0       pursuant to power of sale or otherwise, at one or more sales, in one or more parcels, at such time
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    I   and place, upon such terms and after such notice thereof as may be required or permitted by law;
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                      (e)     institute an action, suit or proceeding in equity for the specific
        performance of any covenant, condition or agreement contained herein, in the Note, the Loan
        Agreement, or in the other Loan Documents;

                              recover judgment on the Note either before, during or after any
                            (f)
        proceedings for the enforcement of this Security Instrument or the other Loan Documents;

                         (g)    apply for the appointment of a receiver, trustee, liquidator or conservator
        of the Property, without notice and without regard for the adequacy of the security for the Debt
        and without regard for the solvency of Borrower, any Guarantor or of any person, firm or other
        entity liable for the payment of the Debt;

                        (h)    the license granted to Borrower under Section 1.2 hereof shall
        automatically be revoked and Lender may enter into or upon the Property, either personally or by
        its agents, nominees or attorneys and dispossess Borrower and its agents and servants therefrom,
        without liability for trespass, damages or otherwise and exclude Borrower and its agents or
        servants wholly therefrom, and take possession of all books, records and accounts relating


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        thereto and Borrower agrees to surrender possession of the Property and of such books, records
        and accounts to Lender upon demand, and thereupon Lender may (i) use, operate, manage,
        control, insure, maintain, repair, restore and otherwise deal with all and every part of the
        Property and conduct business thereon; (ii) complete any construction on the Property in such
        manner and form as Lender deems advisable; (iii) make alterations, additions, renewals,
        replacements and improvements to or on the Property; (iv) exercise all rights and powers of
        Borrower with respect to the Property, whether in the name of Borrower or otherwise, including,
        without limitation, the right to make, cancel, enforce or modify Leases, obtain and evict tenants,
        and demand, sue for, collect and receive all Rents of the Property and every part thereof; (v)
        require Borrower to pay monthly in advance to Lender, or any receiver appointed to collect the
        Rents, the fair and reasonable rental value for the use and occupation of such part of the Property
        as may be occupied by Borrower; (vi) require Borrower to vacate and surrender possession of the
        Property to Lender or to such receiver and, in default thereof~ Borrower may be evicted by
        summary proceedings or otherwise; and (vii) apply the receipts from the Property to the payment
        of the Debt, in such order, priority and proportions as Lender shall deem appropriate in its sole
        discretion after deducting therefrom all expenses (including reasonable attorneys' fees) incurred
        in connection with the aforesaid operations and all amounts necessary to pay the Taxes, Other
        Charges, Insurance Premiums and other expenses in connection with the Property, as well as just
        and reasonable compensation for the services of Lender, its counsel, agents and employees;

                        (i)    exercise any and all rights and remedies granted to a secured party upon
        default under the Uniform Commercial Code, including, without limiting the generality of the
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        foregoing: (i) the right to take possession of any Property (including, without limitation, the
N       Personal Property) or any part thereof, and to take such other measures as Lender or Trustee may
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        deem necessary for the care, protection and preservation of the Property (including without
vI      limitation, the Personal Property), and (ii) request Borrower at its expense to assemble the
(0      Property, including without limitation, the Personal Property, and make it available to Lender at
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0       a convenient place acceptable to Lender. Any notice of sale, disposition or other intended action
N       by Lender or Trustee with respect to the Property, including without limitation, the Personal
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0....   Property, sent to Borrower in accordance with the provisions hereof at least five (5) days prior to
0::::   such action, shall constitute commercially reasonable notice to Borrower;

                         (j)     apply any sums then deposited in the Accounts and any other sums held in
        escrow or otherwise by Lender in accordance with the terms of this Security Instrument, the
        Loan Agreement, or any other Loan Documents to the payment of the following items in any
        order in its sole discretion:

                                          (i)        Taxes and Other Charges;

                                          (ii)       Insurance Premiums;

                                          (iii)      interest on the unpaid principal balance of the Note;

                                          (iv)       amortization of the unpaid principal balance of the Note; or




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                                 (v)    all other sums payable pursuant to the Note, the Loan Agreement,
                  this Security Instrument and the other Loan Documents, including without limitation
                  advances made by Lender pursuant to the terms of this Security Instrument;

                       (k)     surrender the Policies, collect the unearned Insurance Premiums and apply
        such sums as a credit on the Debt in such priority and proportion as Lender in its discretion shall
        deem proper, and in connection therewith, Borrower hereby appoints Lender as agent and
        attorney-in-fact (which is coupled with an interest and is therefore irrevocable) for Borrower to
        collect such Insurance Premiums;

                       (I)     apply the undisbursed balance of any Net Proceeds Deficiency deposit,
        together with interest thereon, to the payment of the Debt in such order, priority and proportions
        as Lender shall deem to be appropriate in its discretion;

                       (m)   foreclose by power of sale or otherwise and apply the proceeds of any
        recovery to the Debt in accordance with Section 8.2 or to any deficiency under this Security
        Instrument;

                        (n)    exercise all rights and remedies under any Causes of Action, whether
        before or after any sale of the Property by foreclosure, power of sale, or otherwise and apply the
        proceeds of any recovery to the Debt in accordance with Section 8.2 or to any deficiency under
        this Security Instrument; or
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0)                           (o)       pursue such other remedies as Lender may have under applicable law.
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CX)     In the event of a sale, by foreclosure, power of sale, or otherwise, of less than all of the Property,
vI      this Security Instrument shall continue as a lien and security interest on the remaining portion of
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        the Property unimpaired and without loss of priority.
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N              Section 8.2     APPLICATION OF PROCEEDS. The purchase money, proceeds and
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0....   avails of any disposition of the Property, or any part thereof, or any other sums collected by
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        Lender pursuant to the Note, this Security Instrument, the Loan Agreement, or the other Loan
        Documents, may be applied by Lender to the payment of the Debt in such priority and
        proportions as Lender in its discretion shall deem proper.

                Section 8.3     RIGHT TO CURE DEFAULTS. Upon the occurrence of any Event of
        Default Lender may, but without any obligation to do so and without notice to or demand on
        Borrower and without releasing Borrower from any obligation hereunder, make or do the same
        in such manner and to such extent as Lender may deem necessary to protect the security hereof.
        Lender or Trustee is authorized to enter upon the Property for such purposes, or appear in,
        defend, or bring any action or proceeding to protect its interest in the Property or to foreclose this
        Security Instrument or collect the Debt. The cost and expense of any cure hereunder (including
        reasonable attorneys' fees to the extent permitted by law), with interest as provided below, shall
        constitute a portion of the Debt and shall be due and payable to Lender or Trustee upon demand.
        All such costs and expenses incurred by Lender in remedying such Event of Default shall bear
        interest at the Default Rate for the period after notice from Lender that such cost or expense was
        incurred to the date of payment to Lender and shall be deemed to constitute a portion of the Debt



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        and be secured by this Security Instrument and the other Loan Documents and shal I be
        immediately due and payable upon demand by Lender therefor.

               Section 8.4      ACTIONS AND PROCEEDINGS. Lender or Trustee has the right to
        appear in and defend any action or proceeding brought with respect to the Property and, after the
        occurrence and during the continuance of an Event of Default, to bring any action or proceeding,
        in the name and on behalf of Borrower, which Lender, in its discretion, decides should be
        brought to protect its interest in the Property.

                Section 8.5    RECOVERY OF SUMS REQUIRED TO BE PAID. Lender shall have
        the right from time to time to take action to recover any sum or sums which constitute a part of
        the Debt as the same become due, without regard to whether or not the balance of the Debt shall
        be due, and without prejudice to the right of Lender or Trustee thereafter to bring an action of
        foreclosure, or any other action, for an Event of Default existing at the time such earlier action
        was commenced.

                Section 8.6      OTHER RIGHTS, ETC. (a) The failure of Lender or Trustee to insist
        upon strict performance of any term hereof shall not be deemed to be a waiver of any term of this
        Security Instrument. Borrower shall not be relieved of Borrower's obligations hereunder by
        reason of (i) the failure of Lender or Trustee to comply with any request of Borrower to take any
        action to foreclose this Security Instrument or otherwise enforce any of the provisions hereof or
        of the Note or the other Loan Documents, (ii) the release, regardless of consideration, of the
v       whole or any part of the Property, or of any person liable for the Debt or any portion thereof, or
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        (iii) any agreement or stipulation by Lender or Trustee extending the time of payment or
~       otherwise modifying or supplementing the terms of the Note, the Loan Agreement, this Security
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vI      Instrument or the other Loan Documents.
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~                      (b)     It is agreed that the risk of loss or damage to the Property is on Borrower,
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N       and neither Lender nor Trustee shall have any liability whatsoever for decline in value of the
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0....   Property, for failure to maintain the Policies, or for failure to determine whether insurance in
0::::   force is adequate as to the amount of risks insured. Possession by Lender or Trustee shall not be
        deemed an election of judicial relief, if any such possession is requested or obtained, with respect
        to the Property or any other Property not in Lender's or Trustee's possession.

                        (c)     Lender may resort for the payment of the Debt to any other security held
        by Lender in such order and manner as Lender, in its discretion, may elect. Lender or Trustee
        may take action to recover the Debt, or any portion thereof, or to enforce any covenant hereof
        without prejudice to the right of Lender or Trustee thereafter to foreclose this Security
        Instrument. The rights of Lender and Trustee under this Security Instrument shall be separate,
        distinct and cumulative and none shall be given effect to the exclusion of the others. No act of
        Lender or Trustee shall be construed as an election to proceed under any one provision herein to
        the exclusion of any other provision. Neither Lender nor Trustee shall be limited exclusively to
        the rights and remedies herein stated but shall be entitled to every right and remedy now or
        hereafter afforded at law or in equity.

               Section 8.7    RIGHT TO RELEASE ANY PORTION OF THE PROPERTY. Lender
        may release any portion of the Property for such consideration as Lender may require without, as



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        to the remainder of the Property, in any way impairing or affecting the lien or priority of this
        Security Instrument, or improving the position of any subordinate lienholder with respect thereto,
        except to the extent that the obligations hereunder shall have been reduced by the actual
        monetary consideration, if any, received by Lender for such release, and may accept by
        assignment, pledge or otherwise any other property in place thereof as Lender may require
        without being accountable for so doing to any other lienholder. This Security Instrument shall
        continue as a lien and security interest in the remaining portion of the Property.

               Section 8.8    VIOLATION OF LAWS. If the Property is not in compliance with Legal
        Requirements, Lender may impose additional requirements upon Borrower in connection
        herewith including, without limitation, monetary reserves or financial equivalents.

                Section 8.9     RIGHT OF ENTRY. Subject to the terms of the Loan Agreement, Lender
        and its agents shall have the right to enter and inspect the Property at all reasonable times.

                 Section 8.10 SUBROGATION. If any or all of the proceeds of the Note have been
        used to extinguish, extend or renew any indebtedness heretofore existing against the Property,
        then, to the extent of the funds so used, Lender shall be subrogated to all of the rights, claims,
        liens, titles, and interests existing against the Property heretofore held by, or in favor of, the
        holder of such indebtedness and such former rights, claims, liens, titles, and interests, if any, are
        not waived but rather are continued in full force and effect in favor of Lender and are merged
        with the lien and security interest created herein as cumulative security for the repayment of the
v       Debt, and the performance and discharge of the Obligations.
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~                Section 8.11 RECOURSE AND CHOICE OF REMEDIES. Notwithstanding any other
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vI      provision of this Security Instrument or the Loan Agreement, including, without limitation,
(0      Section 8.6 of the Loan Agreement, Lender and other Indemnified Parties are entitled to enforce
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        the obligations of Borrower contained in Section 9.13(c) and .(ill of the Loan Agreement without
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N       first resorting to or exhausting any security or collateral and without first having recourse to the
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0....   Note or any of the Property, through foreclosure or acceptance of a deed in lieu of foreclosure or
0::::   otherwise, and in the event Lender commences a foreclosure action against the Property, Lender
        is entitled to pursue a deficiency judgment with respect to such obligations against Borrower and
        any guarantor or indemnitor with respect to the Loan. The provisions of Section 9.13(c) and@
        of the Loan Agreement are exceptions to any non-recourse or exculpation provisions in the Loan
        Agreement, the Note, this Security Instrument or the other Loan Documents, and Borrower is
        fully and personally liable for the obligations pursuant to Section 9.13(c) and {ill of the Loan
        Agreement. The liability of Borrower with respect to the Loan pursuant to Section 9.13(c) and
        {ill of the Loan Agreement is not limited to the original principal amount of the Note.
        Notwithstanding the foregoing, nothing herein shall inhibit or prevent Lender from foreclosing
        or exercising any other rights and remedies pursuant to the Loan Agreement, the Note, this
        Security Instrument and the other Loan Documents, whether simultaneously with foreclosure
        proceedings or in any other sequence. A separate action or actions may be brought and
        prosecuted against Borrower pursuant to Section 9.13(c) and .(ill of the Loan Agreement, whether
        or not action is brought against any other Person or whether or not any other Person is joined in
        the action or actions.

                                                  ARTICLE 9 - WA IVERS



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                Section 9.1    WAIVER OF COUNTERCLAIM. Borrower hereby waives the right to
        assert a counterclaim, other than a mandatory or compulsory counterclaim, in any action or
        proceeding brought against it by Lender arising out of or in any way connected with this Security
        Instrument, the Note, the Loan A6rreement, any of the other Loan Documents, or the Obligations.

                Section 9.2   MARSHALLING AND OTHER MATTERS. Borrower hereby waives,
        to the extent permitted by law, the benefit of all appraisement, valuation, stay, extension,
        reinstatement and redemption laws now or hereafter in force and all rights of marshalling in the
        event of any sale hereunder of the Property or any part thereof or any interest therein. Further,
        Borrower hereby expressly waives any and all rights of redemption from sale under any order or
        decree of foreclosure of this Security Instrument on behalf of Borrower, and on behalf of each
        Person acquiring any interest in or title to the Property subsequent to the date of this Security
        Instrument and on behalf of all persons to the extent permitted by Legal Requirements.

                Section 9.3    WAIVER OF NOTICE. Borrower shall not be entitled to any notices of
        any nature whatsoever from Lender or Trustee except (a) with respect to matters for which this
        Security Instrument. the Loan Agreement or any other Loan Document, specifically and
        expressly provides for the giving of notice by Lender or Trustee to Borrower, and (b) with
        respect to matters for which Lender or Trustee is required by any applicable law to give notice,
        and Borrower hereby expressly waives the right to receive any notice from Lender or Trustee
        with respect to any matter for which this Security Instrument does not specifically and expressly
        provide for the giving of notice by Lender or Trustee to Borrower.
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                Section 9.4     WAIVER OF STATUTE OF LIMITATIONS.                      Borrower hereby
~       expressly waives and releases to the fullest extent permitted by law, the pleading of any statute
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vI      of limitations as a defense to payment of the Debt or performance of its Other Obligations.
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                                                  ARTICLE 10 - EXCULPATION
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0....           Section 10.1 EXCULPATION. Notwithstanding anything to the contrary contained in
0::::   this Security Instrument, the liability of Borrower to pay the Debt and for the performance of the
        other agreements, covenants and obligations contained herein and in the Note, the Loan
        Agreement and the other Loan Documents shall be limited as set forth in Section 8.6 of the Loan
        Agreement.

                                                 ARTICLE 11 -APPLICABLE LAW

                  Section 11.1         GOVERNING LAW.
                                        (1) THIS SECURITY INSTRUMENT AND
        THE OBLIGATIONS ARISING HEREUNDER SHALL BE GOVERNED BY, AND
        CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF TEXAS
        APPLICABLE TO CONTRACTS MADE AND PERFORMED IN SUCH STATE
        (WITHOUT REGARD TO PRINCIPLES OF CONFLICT LAWS) AND ANY
        APPLICABLE LAW OF THE UNITED STATES OF AMERICA.

            (2)   ANY LEGAL SUIT, ACTION OR PROCEEDING AGAINST LENDER OR
        BORROWER ARISING OUT OF OR RELATING TO THIS SECURITY INSTRUMENT
        MAY AT LENDER'S OPTION BE INSTITUTED IN ANY FEDERAL OR STATE
        COURT IN THE CITY OF NEW YORK, COUNTY OF NEW YORK, PURSUANT TO


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        SECTION 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS LAW, AND
        BORROWER WAIVES ANY OBJECTIONS WHICH IT MAY NOW OR HEREAFTER
        HAVE BASED ON VENUE AND/OR FORUM NON CONVENIENS OF ANY SUCH
        SUIT, ACTION OR PROCEEDING, AND BORROWER HEREBY IRREVOCABLY
        SUBMITS TO THE JURISDICTION OF ANY SUCH COURT IN ANY SUIT, ACTION
        OR PROCEEDING.

                                                 ARTICLE 12 - DEFINITIONS

                Section 12.1 GENERAL DEFINITIONS.               Unless the context clearly indicates a
        contrary intent or unless otherwise specifically provided herein, words used in this Security
        Instrument may be used interchangeably in singular or plural form and the word "Borrower"
        shall mean "each Borrower and any subsequent owner or owners of the Property or any part
        thereof or any interest therein," the word "Lender" shall mean "Lender and any subsequent
        holder of the Note," the word "Trustee" shall mean "Trustee and any substitute Trustee of the
        estates, properties, powers, trusts and rights conferred upon Trustee pursuant to this Security
        Instrument," the word "Note," shall mean "the Note and any other evidence of indebtedness
        secured by this Security Instrument," the word "Property" shall include any portion of the
        Property and any interest therein, and the phrases "legal fees", "attorneys' fees" and "counsel
        fees" shall include any and all reasonable attorneys', paralegal and law clerk fees and
        disbursements, including, but not limited to, reasonable fees and disbursements at the pre-trial,
        trial and appellate levels incurred or paid by Lender in protecting its interest in the Property, the
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        Leases and the Rents and enforcing its rights hereunder.
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               Section 12.2 HEADINGS, ETC. The headings and captions of various Articles and
vI      Sections of this Security Instrument are for convenience of reference only and are not to be
(0      construed as defining or limiting, in any way, the scope or intent of the provisions hereof.
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                                     ARTICLE 13 - MISCELLANEOUS PROVISIONS
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0::::           Section 13.1 NO ORAL CHANGE. This Security Instrument and any prov1s1ons
        hereof, may not be modified, amended, waived, extended, changed, discharged or terminated
        orally or by any act or failure to act on the part of Borrower or Lender, but only by an agreement
        in writing signed by the party against whom enforcement of any modification, amendment,
        waiver, extension, change, discharge or termination is sought.

                Section 13.2 LIABILITY.          If Borrower consists of more than one person, the
        obligations and liabilities of each such person hereunder shall be joint and several. This Security
        Instrument shall be binding upon and inure to the benefit of Borrower and Lender and their
        respective successors and assigns forever.

               Section 13.3 INAPPLICABLE PROVISIONS. If any term, covenant or condition of
        this Security Instrument or any other Loan Document, is held to be invalid, illegal or
        unenforceable in any respect, the Note and this Security Instrument or the other Loan
        Documents, as the case may be, shall be construed without such provision.

               Section 13.4 DUPLICATE ORIGINALS; COUNTERPARTS.                     This Security
        Instrument may be executed in any number of duplicate originals and each duplicate original


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        shall be deemed to be an original. This Security Instrument may be executed in several
        counterparts, each of which counterparts shall be deemed an original instrument and all of which
        together shall constitute a single Security Instrument. The failure of any party hereto to execute
        this Security Instrument, or any counterpart hereof, shall not relieve the other signatories from
        their obligations hereunder.

                Section 13.5 NUMBER AND GENDER. Whenever the context may require, any
        pronouns used herein shall include the corresponding masculine, feminine or neuter forms, and
        the singular form of nouns and pronouns shall include the plural and vice versa.

                Section 13.6 NOTICE. All notices required or permitted under this Security Instrument
        shall be given and be effective in accordance with Section 9.6 of the Loan Agreement.

                                       ARTICLE 14 - INTENTIONALLY OMITTED

                                      ARTICLE 15 - STATE SPECIFIC PROVISIONS

               Section 15 .1 INCONSISTENCIES. In the event of any inconsistencies between the
        terms and conditions of this Article 15 and the other provisions of this Security Instrument, the
        terms and conditions of this Article 15 shall control and be binding.

                 Section 15.2 NON-JUDICIAL FORECLOSURE.                     Should Lender have elected to
        accelerate the Debt secured hereby and initiate foreclosure of the Property by requesting the
v
0)      Trustee to effectuate a non judicial foreclosure sale, the Trustee of this Security Instrument shall
N       then sell, or offer for sale, the Property at public sale to the highest bidder for cash during a three
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CX)     hour period between the hours of ten o'clock a.m. and four o'clock p.m. whose earliest point in
vI      time is specified, on the first Tuesday of any month, at the area officially designated for holding
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~       such sales at the courthouse of any county in the State of Texas in which any part of the Property
0       is sih1ated, after having given notice of the date, the time period, place and terms of said sale in
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0....   accordance with the laws of the State of Texas then in force and governing said sales of real
0::::   property and improvements under powers conferred by deeds of trust. The Property shall be sold
        by posting, or causing to be posted, at least twenty one (21) consecutive days prior to the date of
        said sale, written or printed notice thereof at the courthouse door in each of the counties in which
        the Property is situated, designating the county where the Property will be sold and designating
        the date, the time period, the place and the terms of sale. A copy of such notice shall also be
        filed in the office of the County Clerk in each county of the State of Texas in which any part of
        the Property is situated at least twenty one (21) consecutive days before the date of said sale of
        the Property. Lender shall have the right to become the purchaser at any sale held by any
        Trustee or substitute or successor Trustee, or by any receiver or public officer. Any Lender
        purchasing at any such sale shall have the right to credit the Debt owing to such Lender upon the
        amount of its bid entered at such sale to the extent necessary to satisfy such bid. Said Trustee
        may appoint an attorney in fact to act in its stead as Trustee to conduct sale as hereinbefore
        provided. Borrower authorizes and empowers the Trustee to sell the Property, in lots or parcels
        or as a whole, and to execute and deliver to the purchaser or purchasers thereof good and
        sufficient deeds of conveyance thereto of the estate of title then existing on the Property and bills
        of sale with covenants of special warranty. Borrower binds itself to warrant and forever defend
        the title of such purchaser or purchasers when so made by the Trustee, and agrees to accept



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        proceeds of said sale, if any, which are payable to Borrower as provided herein. In addition to
        the posting and filing of notices hereinabove provided, and for so long as required by law, no
        foreclosure under the power of sale herein contained shall be held unless Lender, at least twenty
        one (21) days preceding the date of sale and in the manner prescribed by law, shall have served
        written notice of the proposed sale which designates the County where the Property will be sold
        and designates the date, time period, the place and the terms of sale by certified mail on
        Borrower. Service of such a notice by certified mail shall be completed upon deposit of such
        notice, postage prepaid and properly addressed to each such person or entity at the address for
        Borrower indicated on the first page of this Security Instrument, in a Post Office of the United
        States Postal Service or in an official depository under the care and custody of the United States
        Postal Service. The affidavit of a person knowledgeable of the facts to the effect that such
        service was completed shall be prima facie evidence of the fact of service. It is the intent of the
        parties that any nonjudicial foreclosure of the Property comply with Section 51.002 of the Texas
        Property Code, in the event of a conflict between the terms or conditions of this Deed of Trust
        and Sections 51.002 of the Texas Property Code, Section 51.002 shall control.

                Section 15.3 FINANCING STATEMENT. This Security Instrument shall also be
        effective as a financing statement covering as extracted collateral subject to, and pursuant to the
        provisions of, Section 9.30 I of the Uniform Commercial Code Secured Transactions, as adopted
        in Texas and as the same may be later amended, and is to be filed for record in the real estate
        records of the county where the Property is situated

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                Section 15.4 FIXTURE FILING. This Security Instrument shall be effective as a
N       financing statement filed as a fixture filing with respect to all fixtures included within the
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CX)     Property and is to be filed for record in the real estate records in the Office of the County Clerk
vI      where the Property (including said fixtures) is situated. This Security Instrument shall also be
(0      effective as a financing statement covering minerals or the like (including oil and gas) and
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0       accounts subject to Subsection (e) of Section 9.103 of the Texas Business and Commerce Code,
N       as amended, and is to be filed for record in the real estate records of the county where the
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0....   Property is situated. The mailing address of Borrower and the address of Lender from which
0::::   information concerning the security interest may be obtained are set forth above.

                Section I 5.5 FAIR MARKET VALUE. To the extent Section 51.003 of the Texas
        Property Code, or any amendment thereto or judicial interpretation thereof, requires that the "fair
        market value" of the Property shall be determined as of the foreclosure date in order to enforce a
        deficiency against Borrower or any other party liable for the repayment of the indebtedness
        secured hereby, the term "fair market value" shall include those matters required by law and shall
        also include the additional factors, as follows:

                (a)     The Property is to be valued "AS IS, WHERE TS" and "WITH ALL FAUL TS"
        and there shall be no assumption of restoration of or refurbishment of the Property after the date
        of foreclosure;

                (b)     There shall be an assumption of a prompt resale of the Property for an all cash
        sales price by the purchaser at the foreclosure so that no extensive holding period should be
        factored into the determination of "fair market value" of the Property;




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                (c)    An offset to the fair market value of the Property, as determined hereunder. shall
        be made by deducting from such value the reasonable estimated closing costs relating to the sale
        of the Property, including, but not limited to, brokerage commissions, title policy expenses, tax
        prorations, escrow fees, and other common charges which are incurred by a seller of real
        property similar to the Property; and

                Section 15.6 After consideration of the factors required by law and those required
        above, an additional discount factor shall be calculated based upon the estimated time it will take
        to effectuate a sale of the property so that the "fair market value" as so determined is discounted
        to be as of the date of the foreclosure of the Property.

                Section 15.7 TARA. Notwithstanding anything to the contrary contained herein, (i)
        Lender is entitled to all the rights and remedies of an assignee set forth in Chapter 64 of the
        Texas Property Code, the Texas Assignment of Rents Act ("TARA") and (ii) Lender's interest in
        the Leases and Rents, and its realization thereon, is governed by and subject to TARA. This
        document shall constitute and serve as a security instrument under TARA. Lender shall have the
        ability to exercise its rights related to the Leases and Rents, in Lender's sole discretion and
        without prejudice to any other remedy available, as provided in this document or as otherwise
        allowed by applicable law, including, without limitation, TARA.

                                         ARTICLE 16 - INTENTIONALLY OMITTED

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                                        ARTICLE 17 - DEED OF TRUST PROVISIONS
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~               Section 17.1 CONCERNING THE TRUSTEE. Trustee shall be under no duty to take
CX)
vI      any action hereunder except as expressly required hereunder or by law, or to perform any act
(0      which would involve Trustee in any expense or liability or to institute or defend any suit in
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        respect hereof, unless properly indemnified to Trustee's reasonable satisfaction. Trustee, by
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N       acceptance of this Security Instrument, covenants to perform and fulfill the trusts herein created,
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0....   being liable, however, only for gross negligence or willful misconduct, and hereby waives any
0::::   statutory fee and agrees to accept reasonable compensation, in lieu thereof, for any services
        rendered by Trustee in accordance with the terms hereof. Trustee may resign at any time upon
        giving thirty (30) days' notice to Borrower and to Lender. Lender may remove Trustee at any
        time or from time to time and select a successor trustee. In the event of the death, removal,
        resignation, refusal to act, or inability to act of Trustee, or in its sole discretion for any reason
        whatsoever Lender may, without notice and without specifying any reason therefor and without
        applying to any court, select and appoint a successor trustee, by an instrument recorded wherever
        this Security Instrument is recorded and all powers, rights, duties and authority of Trustee, as
        aforesaid, shall thereupon become vested in such successor. Such substitute trustee shall not be
        required to give bond for the faithful performance of the duties of Trustee hereunder unless
        required by Lender. The procedure provided for in this Section 17.1 for substitution of Trustee
        shall be in addition to and not in exclusion of any other provisions for substitution, by lav,r or
        otherwise.

               Section 17.2 TRUSTEE'S FEES. Borrower shall pay all reasonable costs, fees and
        expenses incurred by Trustee and Trustee's agents and counsel in connection with the




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        performance by Trustee of Trustee's duties hereunder and all such costs, fees and expenses shall
        be secured by this Security Instrument.

                Section 17.3 CERTAIN RIGHTS. With the approval of Lender, Trustee shall have the
        right to take any and all of the following actions: (i) to select, employ, and advise with counsel
        (who may be, but need not be, counsel for Lender) upon any matters arising hereunder, including
        the preparation, execution, and interpretation of the Note, this Security Instrument or the other
        Loan Documents, and shall be fully protected in relying as to legal matters on the advice of
        counsel, (ii) to execute any of the trusts and powers hereof and to perform any duty hereunder
        either directly or through his/her agents or attorneys, (iii) to select and employ, in and about the
        execution of his/her duties hereunder, suitable accountants, engineers and other experts, agents
        and attorneys-in-fact, either corporate or individual, not regularly in the employ of Trustee, and
        Trustee shall not be answerable for any act, default, negligence, or misconduct of any such
        accountant, engineer or other expert, agent or attorney-in-fact, if selected with reasonable care,
        or for any error of judgment or act done by Trustee in good faith, or be otherwise responsible or
        accountable under any circumstances whatsoever, except for Trustee's gross neg! igence or
        willful misconduct, and (iv) any and all other lawful action as Lender may instruct Trustee to
        take to protect or enforce Lender's rights hereunder. Trustee shall not be personally liable in
        case of entry by Trustee, or anyone entering by virtue of the powers herein granted to Trustee,
        upon the Property for debts contracted for or liability or damages incurred in the management or
        operation of the Property. Trustee shall have the right to rely on any instrument, document, or
        signature authorizing or supporting an action taken or proposed to be taken by Trustee
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0)      hereunder, believed by Trustee in good faith to be genuine. Trustee shall be entitled to
N       reimbursement for actual expenses incurred by Trustee in the performance of Trustee's duties
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CX)     hereunder and to reasonable compensation for such of Trustee's services hereunder as shall be
vI      rendered.
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0              Section 17.4 RETENTION OF MONEY. All moneys received by Trustee shall, until
N       used or applied as herein provided, be held in trust for the purposes for which they were
    I
0....   received, but need not be segregated in any manner from any other moneys (except to the extent
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        required by applicable law) and Trustee shall be under no liability for interest on any moneys
        received by Trustee hereunder.

                Section 17.5 PERFECTION OF APPOINTMENT. Should any deed, conveyance, or
        instrument of any nature be required from Borrower by any Trustee or substitute trustee to more
        fully and certainly vest in and confirm to the Trustee or substitute trustee such estates, rights,
        powers, and duties, then, upon request by the Trustee or substitute trustee, any and all such
        deeds, conveyances and instruments shall be made, executed, acknowledged, and delivered and
        shall be caused to be recorded and/or filed by Borrower.

                Section 17.6 SUCCESSION INSTRUMENTS.                   Any substitute trustee appointed
        pursuant to any of the provisions hereof shall, without any further act, deed, or conveyance,
        become vested with all the estates, properties, rights, powers, and trusts of its or his/her
        predecessor in the rights hereunder with like effect as if originally named as Trustee herein; but
        nevertheless, upon the written request of Lender or of the substitute trustee, the Trustee ceasing
        to act shall execute and deliver any instrument transferring to such substitute trustee, upon the
        trusts herein expressed, all the estates, properties, rights, powers, and trusts of the Trustee so



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        ceasing to act, and shall duly assign, transfer and deliver any of the property and moneys held by
        such Trustee to the substitute trustee so appointed in the Trustee's place.

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              IN WITNESS WHEREOF, THIS SECURITY INSTRUMENT has been executed by
        Borrower the day and year first above written.



                                              KORNBLUTH TEXAS, LLC, a Texas limited
                                              liability company




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                                                            ACKNOWLEDGMENTS



        STATE OF        a   r--£-jOY\                       )

                                                             ) ss.:

        COUNTYOF             L~                              )



                       On the l]_ day of Q c.,-\oQ..Q.,r            , 2016, before me, the undersigned, a
        Notary Public in and for said State, personally appeared Cheryl Tyler, Manager of
        KORNBLUTH TEXAS, LLC, a Texas limited liability company, personally known to me or
        proved to me on the basis of satisfactory evidence to be the individual whose name is subscribed
        to the within instrument and acknowledged to me that he executed the same in his authorized
        capacity, and that by his signature on the instrument, the individual, or the person or entity upon
        behalf of which the individual acted, executed the instrument.


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N                            OFACIAL STAMP
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CX)                     NOTARY PUILIC~iGON
vI                      COMMISSION NO. 948849
(0      •            MY C0MMISSIOI EXPIRES MARCH 31, 2020                                                   O'<" e... s. 0 Y\.
~                                                                     Notary Public for the State o-f.Texas            ..::i
0                                                                     My commission expires:No..,-rcv"\, '3\ 1,.DLO
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                                                     EXHIBIT A

                                                 (Description of Land)



        Fee Parcel

        Tract I:

        Unrestricted Reserve "C", Block I, of One Bay Area Plaza, Harris County, Texas recorded under
        Film Code Number 612277 of the Map Records of Harris County, Texas: and

        Easement:

        TOGETHER WITH easement described in Easement Agreement, dated December 21, 2006,
        executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in
        instrument(s) recorded at Harris County Clerk's File No. 20060296799 corrected by
        20080242828 of the Real Property Records of Harris County, Texas. As shown and noted on
        survey prepared by Prime Texas Surveys, dated September 30, 2016; Job No. 161190.

        TOGETHER WITH easement described in Easement Agreement, dated dated December 6, 2007,
        executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in instrument
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0)
        recorded at Harris County Clerk's File No. 20070727577 of the Real Property Records of Harris
N       County, Texas and ratified by Narendra Maran, as set forth in Ratification of Plat and Easement
~
CX)     Agreement recorded under Clerk's File No. 20080242827 of the Real Property Records of Harris
vI      County, Texas. As shown and noted on survey prepared by Prime Texas Surveys, dated
(0      September 30, 2016: Job No. 161190.
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                 RP-2016-481294
                 # Pages 27
                 10/25/2016 01:02 PM
                 e-Filed   &   e-Recorded in the
                 Official Public Records of
                 HARRIS COUNTY
                 STAN STANART
                 COUNTY CLERK
                 Fees   $116.00




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0....            RECORDERS MEMORANDUM
0::::            This instrument was received and recorded electronically
                 and any blackouts, additions or changes were present
                 at the time the instrument was filed and recorded.




                 Any provision herein which restricts the sale, rental, or
                 use of the described real property because of color or
                 race is invalid and unenforceable under federal law.
                 THE STATE OF TEXAS
                 COUNTY OF HARRIS
                 I hereby certify that this instrument was FILED in
                 File Number Sequence on the date and at the time stamped
                 hereon by me; and was duly RECORDED in the Official
                 Public Records of Real Property of Harris County, Texas.



                                     COUNTY CLERK
                                     HARRIS COUNTY, TEXAS
